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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                        11/3/2021
 Ricardo Velasquez,

                                Plaintiff,
                                                            1:21-cv-07211 (PAE) (SDA)
                    -against-
                                                            ORDER
 Barrio Chino, LLC et al.,

                                Defendants.


STEWART D. AARON, United States Magistrate Judge:

       Following a telephone conference, during which only Plaintiff and defendant Limchi Sang

appeared, it is hereby Ordered that, if defendant Barrio Chino, LLC has not appeared by

November 17, 2021, Plaintiff shall, no later than November 24, 2021, seek a Certificate of Default

from the Clerk of Court.

SO ORDERED.

DATED:         New York, New York
               November 3, 2021

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                                                STEWART D. AARON
                                                United States Magistrate Judge
